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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



In re: Equifax, Inc. Customer             MDL Docket No. 2800
Data Security Breach Litigation           No. 1:17-md-2800-TWT

                                          This document relates to:

                                          CONSUMER TRACK


        ORDER GRANTING JOINT MOTION TO SET DEADLINES

      The Court has considered the Parties’ Joint Motion to Set Deadlines with

respect to Plaintiff City of Chicago’s Motion for Reconsideration (Dkt. No. 805).

The Motion is GRANTED. Any responses to Plaintiff City of Chicago’s Motion for

Reconsideration shall be filed by October 10, 2019, and Plaintiff City of Chicago

shall file a consolidated reply in support of its Motion by October 24, 2019.

      SO ORDERED, this ____ day of September, 2019.


                                            _________________________
                                            THOMAS W. THRASH
                                            UNITED STATES DISTRICT JUDGE
